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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

VICTORIA PERALES,

       Plaintiff,

v.                                                                Case No: 8:18-cv-814-T-36TGW

SIMPLY RIGHT, INC.,

      Defendant.
___________________________________/

                                            ORDER

       This cause comes before the Court upon the Report and Recommendation filed by

Magistrate Judge Thomas G. Wilson on May 8, 2019 (Doc. 38).                    In the Report and

Recommendation, Magistrate Judge Wilson recommends that the Court grant the parties' Joint

Motion for Approval of Settlement Agreement and Entry of an Order of Dismissal with Prejudice

(Doc. 37). All parties were furnished copies of the Report and Recommendation and were afforded

the opportunity to file objections pursuant to 28 U.S.C. § 636(b)(1). No such objections were filed.

       Upon consideration of the Report and Recommendation, and upon this Court's independent

examination of the file, it is determined that the Report and Recommendation should be adopted.

Accordingly, it is now

       ORDERED AND ADJUDGED:

       (1)      The Report and Recommendation of the Magistrate Judge (Doc. 38) is adopted,

                confirmed, and approved in all respects and is made a part of this Order for all

                purposes, including appellate review.

       (2)      The parties’ Joint Motion for Approval of Settlement Agreement and Entry of an

                Order of Dismissal with Prejudice (Doc. 37) is GRANTED. The Settlement
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             Agreement is APPROVED, as it constitutes a fair and reasonable resolution of a

             bona fide dispute.

      (3)    This action is DISMISSED, with prejudice.

      (4)    The Clerk is directed to terminate all pending motions and close this file.

      DONE AND ORDERED in Tampa, Florida on June 5, 2019.




Copies to:
The Honorable Thomas G. Wilson
Counsel of Record




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